Case 2:1

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Attorneys for Defendants

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CLIFF OHLER and KURT
SCHLOTTERBECK,

Plaintiff,

V.

CITY OF FONTANA, a munici \
corporation, CITY OF FONTANA
POLICE DEPARTMENT, an
operating department thereof, ROD
JONES, individually and as Chief of
Police; KEN HUNT, individually
and as a City Manager; NATE
HARLEY, individually and as a
Captain; DAVID FAULKNER,
individually and as a Captain;
WILLIAM MEGENNEY,
individually and as a Lieutenant;
ORBELIO RODRIGUEZ,
individually and as a Lieutenant; and
DOES 1 THROUGH 10,

Defendant.

 

 

 

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A M.GERMANO, Bar No. 151360

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[PROPOSED] JUDGMENT

JUDGMENT

 
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JUDGMENT

On September 14, 2011 the Court issued an Order granting the Motion for
Partial Summary Judgment filed by defendants Rod Jones, Ken Hunt, Nate Harley,
David Faulkner, William Megenney and Orbelio Rodriguez as to the first claim for
relief in the First Amended Complaint of plaintiffs Cliff Ohler and Kurt
Schlotterbeck (collectively, “Plaintiffs”), lifting the previously issued stay on
Plaintiffs’ claims against defendant City of Fontana (“F ontana”) and granting
Fontana’s Motion to Dismiss the first claim for relief in Plaintiffs’ First Amended
Complaint, and dismissing, without prejudice, the second claim for relief in

Plaintiffs’ First Amended Complaint. In accordance with the Order,

IT IS ADJUDGED THAT

1. Judgment in the above-captioned matter be, and hereby is, entered in
favor of defendants City of Fontana, City of Fontana Police Department, Rod
Jones, Ken Hunt, Nate Harley, David Faulkner, William Megenney and Orbelio
Rodriguez (“Defendants”) and that plaintiffs Cliff Ohler and Kurt Schlotterbeck
shall take nothing by way of their First Amended Complaint.

2. Defendants shall recover their costs of suit herein.

Dated: ALLIS / _-B¢EZZE

UNITEDSTATES DISTRIC€-COURT JUDGE

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